                                  Case 20-20565       Doc 17-1   Filed 02/03/21     Page 1 of 1


                                         IN THE UNITED STATES BANKRUPTCY COURT
                                              FOR THE DISTRICT OF MARYLAND
                                                     Located in Baltimore
                         IN RE

                         PHAEDRA A. BROWN                                Case No. 20-20565-NVA
                                                                         Chapter 7
                              Debtor
                         NATIONS DIRECT MORTGAGE, LLC

                              Movant
                         v.
                                                                         Motion No.
                         PHAEDRA A. BROWN

                         and

                         ZVI GUTTMAN, CHAPTER 7 TRUSTEE

                              Respondents

                                                          EXHIBIT A -- DEBT

                              Pre Petition Arrears
                              2 payments of $1502.34 for 11/01/2020 - 12/01/2020                  $3,004.68

                                                                                  Total:          $3,004.68

                              Post Petition Arrears
                              2 payments of $1502.34 for 01/01/2021 - 02/01/2021                  $3,004.68
                              Attorney Fees and Costs                                              $938.00
                              Suspense Account                                                        $0.00

                                                                                  Total:          $3,942.68
     ROSENBERG &
   A SSOCIATES, LLC
4340 East West Highway
       SUITE 600
                                             Total Pre and Post Petition Arrears:                 $6,947.36
 BETHESDA, MD 20814
    (301) 907-8000
 FILE NUMBER: 68641




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